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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


FUSION ELITE ALL STARS, et al.,                  )
                                                 )
        Plaintiffs,                              )
 v.                                              )
                                                              No. 2:20-cv-2600-SHL-cgc
                                                 )
VARSITY BRANDS, LLC, et al.,                     )
                                                 )
        Defendants.                              )

                ORDER GRANTING MOTION FOR BRIEFING SCHEDULE


       Before the Court is the Parties’ Joint Motion for an Order Setting a Briefing Schedule, filed

December 2, 2020. (ECF No. 85.) The Parties request a schedule for Responses and Replies to

Defendants’ Motion to Strike, filed December 1, 2020. (ECF No. 82.) Finding good cause, the

Court GRANTS the Motion and sets the following briefing schedule:


Responses in Opposition to Motion to Strike: January 15, 2021

Replies in Support of Motion to Strike: February 15, 2021

       IT IS SO ORDERED, this 2nd day of December, 2020.

                                             s/ Sheryl H. Lipman
                                             SHERYL H. LIPMAN
                                             UNITED STATES DISTRICT JUDGE
